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                                                      December 23, 2020

By ECF

The Honorable Loretta A. Preska
United States District Judge
Southern District of New York
500 Pearl Street, Room 2220
New York, NY 10007-1312

                Re:     Giuffre v. Maxwell, 15 Civ. 7433 (LAP)

Dear Judge Preska:

        We write respectfully on behalf of non-party John Doe with regard to the Protective
Order that was proposed by the parties in Giuffre v. Dershowitz, 19 Civ. 3377 (LAP)
(“Dershowitz”) on December 21, 2020, see DE 226, and entered by the Court later that day, see
DE 227 (“Dershowitz Protective Order” or “Order”). 1 The Dershowitz Protective Order appears
to give plaintiff Virginia Giuffre and defendant Alan Dershowitz the unfettered bilateral
authority to publicly file presently sealed documents from Giuffre v. Maxwell, 15 Civ. 7433
(LAP) (“Maxwell”), which have been produced as discovery in Dershowitz. For all the reasons
previously set forth by this Court, that must not be permitted. Accordingly, we request that the
Court clarify the Dershowitz Protective Order to require judicial approval for any such unsealing
or public filing of presently sealed materials from this case. 2

        The Dershowitz Protective Order addresses the handling and treatment of documents
designated by Ms. Giuffre and Mr. Dershowitz as “Confidential Information.” See DE 227 ¶ 2.
It defines Confidential Information to include, inter alia, “information filed under seal or
designated as ‘Confidential’ in another action for which the confidentiality designation or seal
has not been lifted.” Id. Thus, “Confidential Information” encompasses sealed information from
Maxwell that has been produced in Dershowitz.

        Paragraph 2 of the Order provides, however, that “any party to this action [the
Dershowitz case – i.e., Ms. Giuffre and Mr. Dershowitz]” may request that “another party to this
action [again, either Ms. Giuffre or Mr. Dershowitz] remove the confidentiality designation”
from confidential documents from “another action” that were produced in the Dershowitz case.

       1
           Unless otherwise noted, Docket Entries refer to the Dershowitz case.
       2
          We also request that any de-designation of Confidential Information of presently sealed
materials in Maxwell – or any other agreement between the Dershowitz parties – or any filing of
presently sealed materials that identify any non-party, should be held in abeyance pending the
Court’s consideration of the instant request.
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Id. (emphasis added). It further provides that, upon such a designation-removal request by one
Dershowitz party, the other Dershowitz party should “promptly review” the identified document
and “remove the confidentiality designation . . . if appropriate.” Id.

         But even if presently sealed materials from Maxwell retain the confidentiality
designation, the Dershowitz parties are nonetheless free to publicly file those materials without
any judicial review or intervention. Specifically, Paragraph 11 of the Order permits “any party”
to file Confidential Information in the public record so long as that party “obtain[s] written
permission from the producing party to file such material.” Id. ¶ 11.

        As such, the Dershowitz Protective Order may fatally undermine this Court’s carefully
constructed measures designed to protect from unnecessary public disclosure sensitive and
private non-party information in the Maxwell materials.

         After rejecting multiple attempts by Mr. Dershowitz to gain access to sealed materials
from the Maxwell case, this Court ultimately directed Ms. Giuffre to produce to Mr. Dershowitz
“sealed materials and discovery that mentions Mr. Dershowitz.” DE 174, at 7. In ruling on Mr.
Dershowitz’s application, the Court drastically limited Mr. Dershowitz’s access to certain sealed
materials owing, in large part, to the reliance and privacy interests of non-parties. The Court
observed that “the gravity of the privacy interests of nonparties . . . weigh[ed] heavily against the
unilateral disclosure” that Mr. Dershowitz sought because it would betray “one of the core
purposes of the unsealing process in Maxwell” – that is, protecting non-parties’ privacy interests.
Id. at 5. As the Court explained, the disclosure sought by Mr. Dershowitz “without the extensive
input from the nonparties that is provided for by the unsealing process in Maxwell” would
threaten to undermine those very same privacy interests. Id.

         Nevertheless, even the more limited universe of sealed Maxwell materials ultimately
provided in discovery by Ms. Giuffre to Mr. Dershowitz pursuant to this Court’s order, see DE
174, seems likely to include information about non-parties. Indeed, according to a recent filing
by Ms. Giuffre, she has already “applied confidentiality designations to the thousands of pages of
mostly third-party documents she reviewed, excerpted, redacted, and produced [to Mr.
Dershowitz] from Giuffre v. Maxwell.” DE 209, at 2. Of course, we do not know the scope,
volume or contents of the sealed Maxwell documents and testimony that have been disclosed to
Mr. Dershowitz in discovery, or the extent to which those materials identify non-parties. Indeed,
it is possible that through redactions, limited productions or otherwise, these materials do not
identify non-parties. See, e.g., DE 220-2; 225. But to whatever extent non-parties are, in fact,
identified in those materials, the Dershowitz Protective Order, as presently drafted, provides no
protection whatsoever to their privacy interests. That is so, of course, because the Order
seemingly grants Mr. Dershowitz and Ms. Giuffre the bilateral authority to re-classify sealed
Maxwell materials as non-confidential and to file those documents on the public record in any
event. Mr. Dershowitz and Ms. Giuffre’s position on sealing is no secret: they both want – and
have repeatedly argued for – mass unsealing. They are thus in a uniquely poor position to fill the
role of guardians of non-party privacy interests.
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       Accordingly, we respectfully request that this Court modify the Dershowitz Protective
Order to ensure that the protection of the privacy interests of non-parties identified in the sealed
documents is not delegated to Mr. Dershowitz and Ms. Giuffre, but rather remains firmly within
the dominion of this Court. See In re New York Times Co., 828 F.2d 110, 116 (2d Cir. 1987)
(“The job of protecting [non-party privacy rights] rests heavily upon the shoulders of the trial
judge.”)

                                                      Respectfully Submitted,
                                                      KRIEGER KIM & LEWIN LLP


                                                By: _________________________
                                                    Nicholas J. Lewin
                                                    Paul M. Krieger


cc (by ECF): Maxwell Counsel of Record (15 Civ. 7433 (LAP))

cc (by email): Dershowitz Counsel of Record (19 Civ. 3377 (LAP))
